 Case 1:22-cv-00051-KD-B Document 4 Filed 07/08/22 Page 1 of 1                     PageID #: 25




                     IN THE UNITED STATES DISTRICT COURT
                    FOR THE SOUTHERN DISTRICT OF ALABAMA
                              SOUTHERN DIVISION

STEPHANI S. BUERGER,                           )
     Plaintiff,                                )
                                               )
v.                                             )     CIVIL ACTION 1:22-00051-KD-B
                                               )
COMERICA BANK,                                 )
    Defendant.                                 )

                                             ORDER

       After due and proper consideration of all portions of this file deemed relevant to the issues

raised, and there having been no objections filed, the Recommendation of the Magistrate Judge

made under 28 U.S.C. § 636(b)(1)(B) and dated June 7, 2022, is ADOPTED as the opinion of this

Court. Accordingly, it is ORDERED that the Plaintiff's case is DISMISSED without prejudice

pursuant to Fed.R.Civ.P. Rule 41(b) and this Court's inherent authority, due to her failure to

prosecute and obey the Court’s directives.

       DONE and ORDERED this the 8th day of July 2022.

                                             /s/ Kristi K. DuBose
                                             KRISTI K. DuBOSE
                                             UNITED STATES DISTRICT JUDGE
